                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: Harris Farms, LLC                         )          Case No.: 17-81562-CRJ-12
       EIN: xx-xxx8466                           )
                                                 )
             Debtor.                             )          Chapter 12

                          MOTION FOR APPROVAL
              FOR PAYMENT OF FIRST INTERIM PROFESSIONAL FEES

       COMES NOW the duly appointed and acting Trustee in the above styled Chapter 7 case,
and shows the Court as follows:

      1.     This Court previously approved an application by the Trustee to employ
Sparkman, Shepard & Morris, P.C. as an attorney.

        2.     The said professional employed by the Trustee has now submitted an interim bill
for services rendered and is providing a summary of the allocation of fees and expenses in each
case, which are collectively attached hereto as Exhibit “A.” The total amount requested as
payment is $14,602.75 consisting of $14,359.50 in compensation for legal services rendered and
$243.25 in expenses incurred. The attorney has not made previous application for payment in
this case.

        3.      In Norman v. Housing Authority of City of Montgomery, 836 F.2d 1292, 1303
(1988), the Eleventh Circuit declared that counsel bears the burden in the first instance of
supplying the court with specific and detailed evidence from which the court can determine the
reasonable hourly rate. A well-prepared fee petition also includes a summary in which time
entries are grouped by the nature of the activity or stage of the case. The applicant has provided
the court with the required summary for all services to be compensated and all expenses to be
reimbursed.

      4.      No agreement exists between the attorney and any other person or entity
whatsoever for the sharing of compensation or expenses in this case.

      5.     This application is brought under the provisions of Sections 327, 328 and 330 of
the United States Bankruptcy Code and Rule 2016 of the Federal Rules of Bankruptcy
Procedure.

       WHEREFORE, the Trustee requests that the Court:

       1.      Enter an Order approving such compensation and expenses and authorizing the
Trustee to pay same; and

       2.      Grant other and further relief as the Court deems just and proper.




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       Respectfully submitted this 27th day of September, 2018.

                                               /s/ Tazewell T. Shepard
                                               Tazewell T. Shepard
                                               Trustee in Chapter 12 Bankruptcy

                                               SPARKMAN, SHEPARD & MORRIS, P.C.
                                               P. O. Box 19045
                                               Huntsville, AL 35804
                                               Tel: (256) 512-9924
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                               CERTIFICATE OF SERVICE

        This is to certify that I have this 27th day of September, 2018, served the foregoing
document upon those parties as found on the Clerk’s Certified Matrix and upon Richard M.
Blythe, Esq., Office of the Bankruptcy Administrator, P.O. Box 3045, Decatur, AL 35602, by
electronic service through the Court’s CM/ECF system and/or by placing a copy of same in the
United States Mail, postage prepaid.



                                               /s/ Tazewell T. Shepard
                                               Tazewell T. Shepard




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